
Reliable Wool Stock LLC, Petitioner-Landlord-Respondent, 
against117-119 Leasing Corp., Respondent-Tenant-Appellant.



Tenant appeals from (1) a final judgment of the Civil Court of the City of New York, New York County (Erika M. Edwards, J.), entered September 29, 2016, which, upon an order granting landlord's cross motion for summary judgment, awarded landlord possession in a holdover summary proceeding and (2) an order (same court and Judge), dated December 12, 2016, which, upon reargument, adhered to the prior determination.




Per Curiam.
Final judgment (Erika M. Edwards, J.), entered September 29, 2016, and order (Erika M. Edwards, J.), dated December 12, 2016, reversed, with one bill of $30 costs, and landlord's cross motion for summary judgment denied.
This commercial holdover proceeding is not susceptible to summary disposition. The record before us, including the parties' respective expert affidavits, demonstrates the existence of triable issues as to whether tenant complied with the insurance coverage requirements of the governing lease.
We have considered tenants' remaining contentions for affirmative relief and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: July 17, 2017










